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 9   Attorneys for Plaintiff Bryce Abbink
     and the Classes
10
11                           UNITED STATES DISTRICT COURT

12         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

13
     Bryce Abbink, individually and on
14                                                  Case No. 8:19-cv-01257-JFW-PJWx
     behalf of all others similarly situated,
15
                                 Plaintiff,         F.R.A.P. 10 CERTIFICATION
16
17   v.                                             Hon. John F. Walter
18   Experian Information Solutions, Inc., Complaint Filed: June 21, 2019
19   an Ohio corporation, Lend Tech
     Loans, Inc., a California corporation,
20   and Unified Document Services, LLC,
21   a California Limited Liability
     Company,
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23                               Defendants.

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     F.R.A.P. 10 CERTIFICATION                -1-
Case 8:19-cv-01257-JFW-PJW Document 76 Filed 03/19/20 Page 2 of 3 Page ID #:627




 1          Plaintiff Bryce Abbink (“Plaintiff”) hereby certifies that, pursuant to Federal
 2   Rule of Appellate Procedure 10(b)(1)(B), transcripts need not be ordered because no
 3   evidence was taken before the District Court and no hearings of any kind have been
 4   conducted by the District Court in this matter.
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 6                     *           *               *          *            *
 7
 8                                            Respectfully submitted,
 9
                                              Bryce Abbink, individually and on behalf of
10                                            all others similarly situated,
11
     Dated: March 19, 2020             By:     /s/ Taylor T. Smith
12
13                                            Aaron D. Aftergood (239853)
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22                                            Attorney for Plaintiff Bryce Abbink
                                              and the Classes
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     F.R.A.P. 10 CERTIFICATION               -2-
Case 8:19-cv-01257-JFW-PJW Document 76 Filed 03/19/20 Page 3 of 3 Page ID #:628




 1                               CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on March 19, 2020.
 5                                          /s/ Taylor T. Smith
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     F.R.A.P. 10 CERTIFICATION            -3-
